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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


In re Motion of
      CHEVRON CORPORATION,

                     Petitioner,

To Compel the Production of Documents
from
    THE WEINBERG GROUP,                            Civ. Action No: 1:11-mc-00409- JMF

                     Respondent,

In Connection with a Civil Action Pending in
the United States District Court for the
Southern District of New York.


  [PROPOSED] ORDER GRANTING EMERGENCY MOTION FOR STAY OF
  SEPTEMBER 8, 2011 ORDER (DKT. 24) AND SEPTEMBER 13, 2011 ORDER
                             (DKT. 30)

       Upon consideration of Respondent Weinberg Group and Defendants Hugo

Gerardo Camacho Naranjo and Javier Piaguaje Payaguaje’s Emergency Motion for Stay

of Enforcement of September 8, 2011 Order (Dkt. 24) and September 13, 2011 Order

(Dkt. 30) Pending Appeal to the United States Court of Appeals for the District of

Columbia Circuit and for Expedited Briefing and Consideration, it is hereby

       ORDERED that Respondent Weinberg Group and Defendants Hugo Gerardo

Camacho Naranjo and Javier Piaguaje Payaguaje’s Emergency Motion for Stay of

Enforcement is GRANTED, and the Court’s September 8, 2011 Order (Dkt. 24) and

September 13, 2011 Order (Dkt. 30) are STAYED pending appellate review by the

United States Court of Appeals for the District of Columbia Circuit.
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  SO ORDERED this _____ day of _____________, 2011.



                                        ______________________________
                                        JOHN M. FACCIOLA
                                        United States Magistrate Judge
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    L. CIV. R. 7(k) APPENDIX OF NAMES AND ADDRESSES OF
ATTORNEYS ENTITLED TO BE NOTIFIED OF ENTRY OF THIS ORDER

        Pursuant to Local Civil Rule 7(k), the following attorneys are entitled to be
notified of the entry of this Order:

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